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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        JS-6
                                      CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-06720-PSG-SKx                                            Date      November 6, 2020
 Title          Andres Gomez v. Sand and Sea et al



 Present: The                 Philip S. Gutierrez, United States District Court Judge
 Honorable
                 Wendy Hernandez                                               Not Reported
                    Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                     Not Present                                               Not Present
 Proceedings (In Chambers):          ORDER DISMISSING ACTION

      The Court, having been advised by the Plaintiff that this action has been settled by a
Notice of Settlement and Request to Vacate All Currently Set Dates [21], hereby orders all
proceedings, if any, vacated and the action dismissed without prejudice.

      Further, the Court retains jurisdiction for sixty (60) days to vacate this order and to
reopen the action upon showing of good cause that the settlement has not been completed.




                                                               Initials of Preparer   wh




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